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                                                                              FILED
                                                                  United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                     Tenth Circuit

                              FOR THE TENTH CIRCUIT                   November 14, 2023
                          _________________________________
                                                                     Christopher M. Wolpert
                                                                         Clerk of Court
  WE THE PATRIOTS, INC., et al.,

        Plaintiffs - Appellants,

  v.                                                       No. 23-2166
                                               (D.C. No. 1:23-CV-00773-DHU-LF)
  MICHELLE LUJAN GRISHAM, in her                            (D. N.M.)
  official capacity only, et al.,

        Defendants - Appellees.

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  ZACHARY FORT, et al.,

        Plaintiffs - Appellants,

  and

  WE THE PATRIOTS, INC., et al.,

        Plaintiffs,

  v.                                                       No. 23-2167
                                               (D.C. No. 1:23-CV-00773-DHU-LF)
  MICHELLE LUJAN GRISHAM, in her                            (D. N.M.)
  official capacity only, et al.,

        Defendants - Appellees.

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  RANDY DONK, et al.,

        Plaintiffs - Appellants,

  and
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  WE THE PATRIOTS, INC., et al.,

        Plaintiffs,
                                                                  No. 23-2185
  v.                                                  (D.C. No. 1:23-CV-00773-DHU-LF)
                                                                   (D. N.M.)
  MICHELLE LUJAN GRISHAM, in her
  official capacity only, et al.,

        Defendants - Appellees.
                       _________________________________

                                       ORDER
                          _________________________________

        These appeals are before the court sua sponte following the opening of these

 appeals, receipt and review of the docketing statements, and review of the district court

 docket in case no. 1:23-CV-00773-DHU-LF.

        The appellants in all three of these appeals sought a preliminary injunction

 enjoining the enforcement of an order issued by the New Mexico Department of Health

 imposing certain firearm-related restrictions. The district court first consolidated the

 cases below. [ECF No. 26]. Then, the district court denied plaintiff-appellants’ motions

 for a preliminary injunction by order entered October 11, 2023. [ECF No. 27].

 Separately, the above-captioned appellants filed notices of appeal, all seeking to appeal

 from ECF No. 27. [ECF Nos. 31 (initiating appeal no. 23-2166); 33 (initiating appeal no.

 23-2167); and 49 (initiating appeal no. 23-2185)].

        Upon consideration, the court procedurally consolidates appeal nos. 23-2166, 23-

 2167, and 23-2185 for the procedural purposes of an appendix, submission to the court,




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 and argument, if scheduled. The court partially consolidates the appeals for purposes of

 briefing.

        Briefing will proceed in accordance with Federal Rule of Appellate Procedure

 31(a) and Tenth Circuit Rule 31.1(A)(1) as follows:

        1. Once the court receives notice of record complete from the district court in all

             three cases, it will set a deadline 40 days thereafter for all three appellants to

             serve and file a single, combined opening brief on appeal. See 10th Cir. R.

             31.3(A). The combined opening brief shall comply with the type/volume

             limitations set forth in Federal Rule of Appellate Procedure 32(a)(7). If filing a

             single brief is not practicable, two or three separate opening briefs (e.g., two

             appellants could join on one brief, with a third appellant filing its own brief)

             may be filed, but each such brief must contain a certificate plainly stating the

             reasons why separate briefs are necessary. See 10th Cir. R. 31.3(A), (B). The

             court explicitly notes that “all parties on a side . . . must—to the extent

             practicable—file a single brief.” Id.

        2. The parties in all three appeals shall confer regarding the preparation and filing

             of a consolidated joint appendix that contains all portions of the district court’s

             records necessary for this court’s disposition of all three appeals. We the

             Patriots, Inc. shall be responsible for serving and filing the consolidated joint

             appendix at the same time the single, combined opening brief is served and

             filed (or at the same time We the Patriots serves and files any separate brief it

             prepared as set forth above). See 10th Cir. R. 30.1.

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       3. Within 30 days after the court accepts the single, combined opening brief (or

          the last-filed separate opening brief, if separate opening briefs are prepared and

          filed) and the joint consolidated appendix for filing, the appellees shall file a

          single response brief that complies with the type/volume limitations for a

          single response brief. See Fed. R. App. P. 32(a)(7).

       4. Within 21 days after the court accepts the appellees’ response brief for filing,

          the appellants may file a single reply brief, limited to the type/volume

          requirements for a single reply brief. Id. If the appellants choose to file more

          than a single reply brief, each separate brief must again plainly state the

          reason(s) separate reply briefs are necessary. See 10th Cir. R. 31.3(B).

       5. Moving forward, all documents filed in these procedurally consolidated

          appeals—including all briefs and the joint appendix—shall be captioned for

          and filed in all three appeals, unless good cause exists to file a document in

          only one of the appeals.

       6. Upon completion of briefing, all three appeals will be submitted to the same

          panel of judges for decision and—to the extent the court directs the parties to

          present oral argument in these appeals—all three appeals will be set for oral

          argument on the same day and before the same panel.




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        The court notes that the appellants in appeal no. 23-2167 already have filed a

 transcript order form. The other appellants need only file transcript order forms if any

 different/additional transcripts are necessary.


                                                   Entered for the Court



                                                   CHRISTOPHER M. WOLPERT, Clerk




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